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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _____________________________________________

 SUFFOLK COUNTY WATER AUTHORITY,

                       Plaintiff,                         DEFENDANT THE DOW
                                                          CHEMICAL COMPANY’S
                v.                                        ANSWER

 THE DOW CHEMICAL COMPANY, et al.,                        Case No. 17-cv-6980-JFB-AYS

                   Defendants.
 _____________________________________________

        Defendant The Dow Chemical Company (“Dow”) answers Plaintiff Suffolk County

 Water Authority’s Complaint as set forth below. To the extent the Complaint makes

 allegations against “Defendants” without identifying a specific Defendant, Dow answers

 only as the allegation pertains to it, and denies knowledge or information sufficient to form

 a belief about the truth of allegations pertaining to the other, unspecified, “Defendants.”

 The allegations in the Complaint relate to activities that occurred or are alleged to have

 occurred decades ago. The Complaint does not identify any factual basis linking alleged

 1,4-dioxane contamination in any individual well to specific sources, users, or disposal

 practices.   Dow's investigation continues.    Its answer is based on the knowledge or

 information available to it at this time.

 I.     Introduction

        1.      Dow admits that SCWA is a public drinking water provider serving certain

 residences and businesses in Suffolk County, New York.           Dow lacks knowledge or

 information sufficient to form a belief about the truth of the remaining allegations in

 Paragraph 1.
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        2.     Dow admits that 1,4-dioxane exists in certain industrial and commercial

 products. Dow lacks knowledge or information sufficient to form a belief about the truth of

 the remaining allegations in Paragraph 2.

        3.     The allegations in Paragraph 3 are denied.

        4.     The allegations in Paragraph 4 are denied.

 II.    Parties

        5.     Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 5.

        6.     Dow denies the first sentence of Paragraph 6.      Dow admits that it is a

 Delaware corporation with its principal office in Midland, Michigan. Dow lacks knowledge

 or information sufficient to form a belief about the truth of the remaining allegations in

 Paragraph 6 and its subparts.

 III.   Jurisdiction and Venue

        7.     The allegations in Paragraph 7 are legal conclusions to which no response is

 required.

        8.     The allegations in Paragraph 8 are legal conclusions to which no response is

 required.

        9.     The allegations in Paragraph 9 are legal conclusions to which no response is

 required.

 IV.    Factual Allegations

        A.     The Contaminant: 1,4-Dioxane

        10.    Dow admits that 1,4-dioxane is an industrial chemical.       The remaining

 allegations in Paragraph 10 are denied.




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        11.      Dow admits that it manufactured and sold 1,4-dioxane as did Union Carbide

 Corporation, and that after 2001 Union Carbide Corporation became a wholly owned

 subsidiary of Dow. The remaining allegations in Paragraph 11 are denied.

        12.      Dow admits that 1,4-dioxane was used as a stabilizer for TCA, that historical

 uses of TCA included degreasing, and that the EPA subsequently required that the use and

 production of TCA be phased out in certain circumstances. Dow lacks knowledge or

 information sufficient to form a belief about the truth of the remaining allegations in

 Paragraph 12.

        13.      Dow admits that it had a patent for stabilizing TCA using 1,4-dioxane and

 that it and third-parties used 1,4-dioxane as a stabilizer for TCA. Dow lacks knowledge or

 information sufficient to form a belief about the truth of the remaining allegations in

 Paragraph 13.

        14.      Dow admits that there are other sources of 1,4-dioxane, including many

 consumer products. Dow lacks knowledge or information sufficient to form a belief about

 the truth of the remaining allegations in Paragraph 14.

        15.      Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 15.

        16.      Dow admits that 1,4-dioxane can, under certain circumstances, migrate in

 groundwater, but denies the remaining allegations in Paragraph 16.

        17.      Dow admits that the EPA, based on the assumptions and reasons explained

 in EPA publications, including “inadequate evidence of carcinogenicity in humans,”

 classified 1,4-dioxane as “likely to be carcinogenic to humans” under its internal

 classification system, but denies the remaining allegations in Paragraph 17.




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        B.     Regulatory Standards Applicable to 1,4-Dioxane

        18.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 18.

        19.    The allegations in Paragraph 19 are denied.

        20.    Dow admits that 1,4-dioxane is regulated as an “unspecified organic

 contaminant” by the New York State Department of Health with a generic “maximum

 contaminant level” (MCL) of 50 parts per billion. Dow lacks knowledge or information

 sufficient to form a belief about the truth of the remaining allegations in Paragraph 20.

        21.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 21.

        22.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 22.

        23.    Dow admits that in February 2016 New York Governor Andrew M. Cuomo

 created a Water Quality Rapid Response Team. Dow lacks knowledge or information

 sufficient to form a belief about the truth of the remaining allegations in Paragraph 23.

        24.    Dow admits Governor Cuomo signed the Clean Water Infrastructure Act.

 Dow lacks knowledge or information sufficient to form a belief about the truth of the

 remaining allegations in Paragraph 24.

        25.    Dow admits that Governor Cuomo appointed members to a Drinking Water

 Quality Council in 2017. Dow lacks knowledge or information sufficient to form a belief

 about the truth of the remaining allegations in Paragraph 25.

        C.     Defendants’ Knowledge of 1,4-Dioxane’s Hazards

        26.    The allegations in Paragraph 26 are denied.



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        27.    The allegations in Paragraph 27 are denied.

        28.    The allegations in Paragraph 28 are denied.

        29.    The allegations in Paragraph 29 are denied.

        30.    The allegations in Paragraph 30 are denied.

        31.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 31.

        32.    The allegations in Paragraph 32 are denied.

        D.     Harm Resulting from 1,4-Dioxane in SCWA’s Wells

        33.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 33.

        34.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 34.

        35.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 35.

        36.    The allegations in Paragraph 36 are denied.

        37.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 37.

 V.     Causes of Action

                                FIRST CAUSE OF ACTION
                        Strict Products Liability for Defective Design

        38.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        39.    The allegations in Paragraph 39 are denied.

        40.    The allegations in Paragraph 40 are denied.



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        41.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 41.

        42.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 42.

        43.    The allegations in Paragraph 43 are denied.

        44.    The allegations in Paragraph 44 and all of its subparagraphs are denied.

        45.    The allegations in Paragraph 45 are denied.

        46.    The allegations in Paragraph 46 are denied.

        47.    The allegations in Paragraph 47 are denied.

        48.    The allegations in Paragraph 48 are denied.

        49.    The allegations in Paragraph 49 are denied.

                              SECOND CAUSE OF ACTION
                        Strict Products Liability for Failure to Warn

        50.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        51.    The allegations in Paragraph 51 are denied.

        52.    The allegations in Paragraph 52 are denied.

        53.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 53.

        54.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 54.

        55.    The allegations in Paragraph 55 are denied.

        56.    The allegations in Paragraph 56 are denied.

        57.    The allegations in Paragraph 57 are denied.



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        58.    The allegations in Paragraph 58 are denied.

        59.    The allegations in Paragraph 59 are denied.

        60.    The allegations in Paragraph 60 are denied.

        61.    The allegations in Paragraph 61 are denied.

        62.    The allegations in Paragraph 62 are denied.

                                THIRD CAUSE OF ACTION
                                       Negligence

        63.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        64.    The allegations in Paragraph 64 are denied.

        65.    The allegations in Paragraph 65 are denied.

        66.    The allegations in Paragraph 66 are denied.

        67.    The allegations in Paragraph 67 are denied.

        68.    The allegations in Paragraph 68 are denied.


                               FOURTH CAUSE OF ACTION
                                    Public Nuisance

        69.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        70.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 70.

        71.    The allegations in Paragraph 71 are denied.

        72.    The allegations in Paragraph 72 are denied.

        73.    The allegations in Paragraph 73 are denied.

        74.    The allegations in Paragraph 74 are denied.



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        75.    The allegations in Paragraph 75 are denied.

        76.    The allegations in Paragraph 76 are denied.

        77.    The allegations in Paragraph 77 are denied.

                                FIFTH CAUSE OF ACTION
                                     Private Nuisance

        78.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        79.    No response to Paragraph 79 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        80.    No response to Paragraph 80 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        81.    No response to Paragraph 81 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        82.    No response to Paragraph 82 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        83.    No response to Paragraph 83 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        84.    No response to Paragraph 84 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        85.    No response to Paragraph 85 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.

        86.    No response to Paragraph 86 is required as the Court’s December 13, 2018

 Order dismissed this cause of action.




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                                 SIXTH CAUSE OF ACTION
                                         Trespass

        87.    Dow’s responses to the allegations in the preceding paragraphs are hereby

 incorporated by reference.

        88.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 88.

        89.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 89.

        90.    Dow lacks knowledge or information sufficient to form a belief about the

 truth of the allegations in Paragraph 90.

        91.    The allegations in Paragraph 91 are denied.

        92.    The allegations in Paragraph 92 are denied.

        93.    The allegations in Paragraph 93 are denied.

        94.    The allegations in Paragraph 94 are denied.

        95.    The allegations in Paragraph 95 are denied.

        96.    The allegations in Paragraph 96 are denied.

        97.    The allegations in Paragraph 97 are denied.

 VI.    Prayer for Relief

        The allegations in Plaintiff’s prayer for relief and all of its subparts are denied.

                                      GENERAL DENIAL

        1.     Each and every allegation not specifically admitted herein is denied.

                                 AFFIRMATIVE DEFENSES

        Without prejudice to the denials set forth herein, and without assuming any burden

 of proof that Dow would not otherwise bear, Dow asserts the following defenses:



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          1.    SCWA’s claims are barred, in whole or in part, by the applicable statutes of

 limitations, including CPLR § 214-c(2).

          2.    SCWA’s claims are barred, in whole or in part, by the bulk-supplier,

 responsible-intermediary, sophisticated-purchaser, sophisticated-user, knowledgeable-user,

 learned-intermediary, and/or informed-intermediary doctrines.

          3.    SCWA’s claims are barred, in whole or in part, because SCWA has failed to

 join one or more necessary or indispensable parties, including parties that it concedes are

 the source of the alleged contamination on which it bases its claims.

          4.    SCWA’s claims are barred, in whole or in part, by its own contributory

 negligence and comparative fault, including but not limited to its failure to adequately plan

 for, monitor, detect, remediate or otherwise address contamination in its wells or to

 adequately address problems caused by septic systems throughout the area SCWA serves.

          5.    SCWA’s claims are barred, in whole or in part, by the negligent or intentional

 acts of others, including the alteration, improper handling, use or disposal of the product at

 issue.

          6.    SCWA’s claims are barred, in whole or in part, by the doctrine of unjust

 enrichment, including unjust enrichment resulting from SCWA’s attempt to recover costs

 for which other funding sources are available. To the extent that SCWA has received or

 may receive some or all of the requested relief from other sources, Dow is entitled to an

 appropriate set-off or reduction of any judgment against it.

          7.    SCWA’s claims are barred, in whole or in part, by SCWA’s failure to mitigate

 its damages.




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        8.     SCWA’s claims are barred, in whole or in part, by the government-function

 doctrine and/or the municipal cost-recovery rule.

        9.     Dow incorporates by reference all applicable defenses set forth in the answers

 of all other Defendants and, further, reserves the right to supplement these defenses with

 any additional defenses that subsequently become available during discovery or trial.

                          DEMAND FOR BIFURCATED TRIAL

        If SCWA is permitted to proceed to trial upon any claims for punitive or exemplary

 liability or damages, such claims, if any, must be bifurcated from the remaining issues.

                               DEMAND FOR JURY TRIAL

        Dow demands a trial by jury of all issues so triable.

               WHEREFORE, Dow respectfully requests that the Court enter judgment in

 its favor, dismissing SCWA’s Complaint against Dow in its entirety, together with costs and

 disbursements; and award Dow such other and further relief as the Court deems just and

 proper.

 Dated: January 25, 2019                          KIRKLAND & ELLIS LLP


                                                  By: /s/ Kevin T. Van Wart, P.C.
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                               CERTIFICATE OF SERVICE

               I certify that on January 25, 2019, I electronically filed the foregoing Answer
 with the Court using the CM/ECF system, and served the same via the CM/ECF system
 upon all counsel of record. There are no pro se parties.

                                                           /s/Joel A. Blanchet
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